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IN THE UNITED sTATEs DISTRICT coURT F"‘EB E“’"’-- D-G.
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 95 AUG IB PH hr 03

 

Fré:j):§,u:f M. GUULD

DORA w. MooRE, “”R;

. f PH!S

   

Plaintiff,
vs. No. 04-2985 MaV

JoHN E. PoTTER,
United States Postmaster,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held ,
August-B§T~ZGOSZ Present were Dora W. Moore, pro se Plaintiff, and
William W. Siler, Assistant United States Attorney, counsel for
John. E. Potter. At the conference, the following' dates were

established as the final dates for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(l):
September 8, 2005

JOINING PARTIES: October 25, 2005

AMENDING PLEADINGS: October 25, 2005

INITIAL MOTIONS TO DISMISS: November 23, 2005
COMPLETING ALL DISCOVERY: April 25, 2006

(a) DOCUMENT PRODUCTION: April 25, 2006

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Wirh Rule 53 and/or 79(3) FRCP on ' Q¢B-'OS' bg

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 25, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: February 24, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: March 24, 2006

(3) EXPERT WITNESS DEPOSITIONS: April 25, 2006
FILING DISPOSITIVE MOTIONS: May 31, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. .All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good, cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury, and the trial is expected to last
three days. The pretrial order date, pretrial conference date, and
trial date will be set by the presiding judge.

This case may' be appropriate for ADR. The parties are
encouraged to engage in court-annexed attorney mediation or`private
mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a

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reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown,r the

scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. VESCOVO

UNITED ST TEs MAGISTRATE JUD_<_;E
DATE: /'7l ¢?00~5

 

       

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This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-02985 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

William W. Siler

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Honorable J on McCalla
US DISTRICT COURT

